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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE BROILER CHICKEN ANTITRUST                         Case No. 1:16-cv-08637
LITIGATION
                                                         Hon. Thomas M. Durkin
                                                         Magistrate Judge Jeffrey T. Gilbert

                                                        DIRECT PURCHASER PLAINTIFFS’
This Document Relates to:                               NOTICE OF SETTLEMENT WITH
Direct Purchaser Plaintiff Action
                                                        TYSON DEFENDANTS



           Direct Purchaser Plaintiffs respectfully notify the Court that Direct Purchaser Plaintiffs

have reached an agreement with Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson

Breeders, Inc., and Tyson Poultry, Inc. (collectively referred to as “Tyson”) to settle all claims

against Tyson. The parties are working to finalize and document all the terms of that agreement,

which is subject to the Court’s approval pursuant to Federal Rule of Civil Procedure 23. Consistent

with the Parties’ agreement, Plaintiffs will move for preliminary – and, ultimately, final – approval

of a proposed settlement in the near future.




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Date:      January 11, 2021               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I, Steven A. Hart, depose and state that I have served a copy of Notice of Settlement upon

all counsel of record via the United States Court for the Northern District of Illinois ECF Document

Filing System on January 11, 2021.

                                                s/Steven A. Hart
                                                Steven A. Hart (IL #6211008)




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